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                UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

ROQUE “ROCKY” DE LA FUENTE,
BECKY HERDBERG, JOSE E. HELENA, and
JOSE GILBERTO PEREZ

      Plaintiffs

v.                                            C.A. 1:16-CV – 00256-RWS

BRIAN KEMP, GEORGIA SECRETARY
OF STATE; and THE DEMOCRATIC
PARTY OF GEORGIA

      Defendants



     DEMOCRATIC PARTY OF GEORGIA MOTION TO DISMISS


       Comes now the Democratic Party of Georgia, through its counsel of
record, and moves this Court for an order dismissing the complaint for
failing to state a claim upon which relief can be granted. Fed. R. Civ. P.
12(b)(6).
       The basis for the motion is set out in full in the accompanying brief.

Respectfully submitted,


/s/ Michael Jablonski_____________
MICHAEL JABLONSKI
Counsel for Democratic Party of Georgia
Georgia Bar No. 385850

501 Pulliam Street SW
Suite 400


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Atlanta GA, 30312

404-290-2977
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    Case 1:16-cv-00256-RWS Document 25 Filed 04/20/16 Page 3 of 3




                        CERTIFICATE OF SERVICE

      I hereby certify that on April 20, 2016, I electronically filed the

DEMOCRATIC PARTY OF GEORGIA MOTION TO DISMISS using the

CM/ECF system which will automatically send e-mail notification of such

filing to the following attorneys of record:

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      I hereby certify that I have mailed by United States Postal Service the

document to the following non-CM/ECF participants: NONE

      This 20th day of April, 2016.


      /s/ Michael Jablonski
      MICHAEL JABLONSKI
      385850

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